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                                                               November 21, 2017

          VIAECF
          Honorable Arthw· D. Spatt
          United States District Judge
          United States District Court
          Eastern District of New York
          100 Federal Plaza
          Central Islip, New York 11722

                 RE:     MHANY Management, Inc. v. Inc. Vil/. of Garden City, et al.,
                         Case Number: 05-cv-230l(ADS)(WDW)

          Dear Judge Spatt:

                  This firm represents defendants the Incorporated Village of Garden City and the Garden
          City Board of Trustees (the "Village") in the above-referenced matter. We write in response to
          plaintiff MHANY Management Inc. and intervenor-plaintiff New York Communities for
          Change's (collectively referred to herein as "Plaintiffs") motion pursuant to Federal Rule of Civil
          Procedure 54(b), requesting entry of a partial final judgment against the Village.

                  The Village does not object to the fonn of the proposed Final Judgment attached as
          Exhibit 1 to the Declaration of Stanley J. Brown dated October 8, 2017. However, the Village
          does not take any position with regard to the Plaintiffs' motion, and defers to the Court's
          discretion with regard to the substance and timing of the entry of a Final Judgment against the
          Village in this action. Moreover, the Village reserves all rights with regard to any Final
          Judgment entered by the Court.

                 Thank you, as always, for your courtesies in this m




          cc:    All parties (via ECF)




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